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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter ll
MATTRESS FIRM, INC., et al.,1 Case No. 18-12241 (CSS)
Debtors. (Jointly Administered)

Ref. Docket No. 478

 

 

ORDER (I) AUTHORIZING DEBTORS TO
(A) REJECT CERTAIN UNEXPIRED LEASES OF NONRESIDENTIAL

REAL PROPERTY AND (B) ABANDON CERTAIN PERSONAL PROPERTY

IN CONNECTION THEREWITH AND (II) GRANTING RELATED RELIEF
Pursuant to and in accordance with the Order (I) Approving Procea’ures for Rejecting
Unexpired Leases of Nonresidential Real Properly, (II) Authorizing the Debtors to Enter Into
Amendments to Certain Unexpz'red Leases of Nonresidential Real Properly, and (III) Granting
Relatea' Relief [Docket No. 408] (the “Reiection Procedures Order”)2 entered in the above-
captioned chapter ll cases of Mattress Firrn, Inc. and its affiliated debtors and debtors in
possession (collectively, the “_Qe_llor§”); and the Debtors having properly filed with this Court
and served on the Rejection Notice Parties a notice [Docket No. 478] (the “First Omnibus
Rejection Notice”) of their intent to reject the unexpired leases specified on Schedule 1 hereto
(the “ pecified Leases”) in accordance with the terms of the Rejection Procedures Order; and

such notice having been adequate and appropriate under the circumstances; and it appearing that

no other or further notice need be provided; and no timely objections having been filed to the

 

1 The last four digits of Mattress Firrn, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
cases, which are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax
identification numbers is not provided herein. This information may be obtained on the website of the Debtors’
noticing and claims agent at http://dm.epiql 1 .com/MattressFirm or by contacting counsel for the Debtors.

2 All capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the
Rejection Procedures Order.

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First Omnibus Rejection Notice; and the Court having found that the relief requested is in the
best interests of the Debtors’ estates, their creditors and other parties in interest; and after due
deliberation and sufficient cause appearing therefor, it is I-[EREBY ORDERED THAT:

l. The Specified Leases set forth on _S_§Le_@e_l are hereby rejected as set forth
herein, effective with respect to each Specified Lease as of the later of (i) October 31, 2018 and
(ii) the date on which the Debtors surrender possession of the store subject to the relevant
Specified Lease to the Lease Counterparty by notifying the affected Lease Counterparty in
writing thereof and (A) have turned over the store keys, key codes, or security codes, if any, to
the Lease Counterparty or (B) have notified the affected Lease Counterparty in writing that the
store keys, key codes, or security codes, if any, are not available and that the Lease Counterparty
may re-key the store (each such rejection effective date, the “Reiection Date”); orovided,
ho_Wc_\§r, that the Debtors shall not have withdrawn the First Omnibus Rejection Notice with
respect to any Specified Lease absent the consent of the applicable Lease Counterparty.

2. Any and all Personal Property remaining at the leased premises as of the
applicable Rejection Date shall be deemed abandoned upon the Rejection Date without further
notice or order of the Court, free and clear of all liens, claims, interests, or other encumbrances.
Any Lease Counterparty or other designee shall be free to dispose of any such items without
notice or liability to any party. The right of any Lease Counterparty to file a claim for the costs
of disposal of such Personal Property, if any, is fully reserved, as are the rights of all parties in
interest to object to such claim.

3. If a Lease Counterparty wishes to assert a claim arising from the rejection of a
Specified Lease, the Lease Counterparty shall file a proof of claim with the Debtors’ claims and

noticing agent before the deadline specified in the Notice of Effective Date to be filed by the

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Debtors with the Court. The Notice of Effective Date will be made available, together with other
documents relating to lease rejections, on the website maintained by the Debtors’ claims and
noticing agent, at http://dm.epiqll.com/MFLeaseRejection. If a Lease Counterparty fails to
timely file a proof of clairn, the Lease Counterparty shall be forever barred from asserting a
claim for damages arising from the rejection of the applicable Specified Lease and from
participating in any distributions made in connection with these chapter ll cases on account of
such claim. Proofs of claim and instructions for submission may be obtained at
http://dm.epiql l.com/MFLeaseRejection.

4. Nothing contained in this Order is intended to be or shall be construed as (a) an
admission as to the validity, priority, or amount of any particular claim against a Debtor entity;
(b) a waiver of the Debtors’ or any other party-in-interest’s rights to dispute any particular claim
on any grounds; (c) a promise or requirement to pay any particular claim; (d) an implication or
admission that any particular claim is of a type specified or defined in the Rejection Procedures
Order or the First Orrmibus Rejection Notice; or (e) a waiver or limitation of the Debtors’ or any
other party-in-interest’s rights under the Bankruptcy Code or any other applicable law.

5. Notwithstanding entry of this Order, nothing herein shall create, or is intended to

create, any rights in favor of or enhance the status of any claim held by, any party.

6. The Debtors are authorized to take all actions necessary to effectuate the relief
granted in this Order.
7. This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation and enforcement of this Order.

Dated: November MQ , 2018 iam §%`

Wilmington, Delaware cHRlsroPH§R s. soNTCHI
cHlEF UNITED sTATEs BANKRUPTCY JUDGE

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